    Case: 1:19-cv-04565 Document #: 62 Filed: 08/15/19 Page 1 of 2 PageID #:2121



                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

 Hangzhou Aoshuang E-                             )
 Commerce Co., Ltd.                               )
                                   Plaintiff,     )   Case No. 1:19-cv-04565
                                                  )
                                                  )   Judge Virginia M. Kendall
                                   v.             )
 008fashion, et al.                               )   Mag. Judge Young B. Kim
                                                  )
                                                  )
                                   Defendants.    )

                             Notice of Dismissal Under Rule 41(a)(1)

Pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure, Plaintiff Hangzhou Aoshuang E-

Commerce Co., Ltd. (“Plaintiff”) hereby dismisses this action with prejudice against the following

Defendants:

                Schedule A                       Defendant Name
                 Line No.
                    110                               menstore

Dated this August 15, 2019
                                                              Respectfully submitted,

                                                              /s/Adam E. Urbanczyk
                                                              Adam E. Urbanczyk
                                                              AU LLC
                                                              564 W. Randolph St. 2nd Floor
                                                              Chicago, IL 60661
                                                              (312) 715-7312
                                                              (312) 646-2501 (fax)
                                                              adamu@au-llc.com
                                                              ARDC No. 6301067
                                                              Counsel for Plaintiff Hangzhou Aoshuang
                                                              E-Commerce Co., Ltd.
    Case: 1:19-cv-04565 Document #: 62 Filed: 08/15/19 Page 2 of 2 PageID #:2121



                                       Certificate of Service

I hereby certify that a true and correct copy of Plaintiff’s Notice of Voluntary Dismissal will be
sent via the Court’s e-filing system to counsel of record this August 15, 2019.

 Larry Ford Banister, II
 The Law Office of L. Ford Banister, II
 PO Box 3514 PMB 23332
 New York, NY 10008
 United States
 (212) 574-8017
 ford@fordbanister.com

 Charles Edward McElvenny
 Law Offices of Charles E. McElvenny
 120 N LaSalle St Suite 1200
 Chicago, IL 60602
 312 291 8330
 charlie@cemlawfirm.com

 Daliah Saper
 Saper Law Offices
 505 N. LaSalle #350
 Chicago, IL 60654
 (312)527-4100
 dsaper@saperlaw.com


                                                                /s/Adam E. Urbanczyk
                                                                Adam E. Urbanczyk
                                                                AU LLC
                                                                564 W. Randolph St. 2nd Floor
                                                                Chicago, IL 60661
                                                                (312) 715-7312
                                                                (312) 646-2501 (fax)
                                                                adamu@au-llc.com
                                                                ARDC No. 6301067
                                                                Counsel for Plaintiff Hangzhou Aoshuang
                                                                E-Commerce Co., Ltd.
